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8                        UNITED STATES DISTRICT COURT
9                     SOUTHERN DISTRICT OF CALIFORNIA
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11   IN RE: PACKAGED SEAFOOD                  Case No.: 15-md-2670-JLS-MDD
     PRODUCTS ANTITRUST
12   LITIGATION                               ORDER ON JOINT MOTION FOR
13                                            DETERMINATION OF
                                              DISCOVERY DISPUTE
14                                            REGARDING DEFENDANTS’
15                                            REQUEST FOR PRODUCTION
                                              NO. 16 (SET THREE)
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17                                            [ECF NO. 1260]
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          In this multi-district litigation, Plaintiffs allege a price-fixing
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     conspiracy conducted by the major manufacturers of packaged seafood
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     products and their parent companies. Before the Court is a Joint Motion for
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     Determination of Discovery Dispute filed on June 29, 2018. (ECF No. 1260).
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     The Joint Motion presents Defendants’ Motion to Compel Further Responses
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     from Plaintiffs Sysco Corp. and US Foods, Inc. to a portion of a single
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     Request for Production. (Id.). The dispute regards Defendants’ request that
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     Plaintiffs produce communications with Plaintiffs’ competitors regarding
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1    packaged tuna. (Id. at 2-3).1
2                                  LEGAL STANDARD
3          The Federal Rules of Civil Procedure authorize parties to obtain
4    discovery of “any nonprivileged matter that is relevant to any party’s claim or
5    defense and proportional to the needs of the case . . . .” Fed. R. Civ. P.
6    26(b)(1). “Information within the scope of discovery need not be admissible in
7    evidence to be discoverable.” Id. District courts have broad discretion to
8    limit discovery where the discovery sought is “unreasonably cumulative or
9    duplicative, or can be obtained from some other source that is more
10   convenient, less burdensome, or less expensive.” Fed. R. Civ. P. 26(b)(2)(C).
11         A party may request the production of any document within the scope of
12   Rule 26(b). Fed. R. Civ. P. 34(a). “For each item or category, the response
13   must either state that inspection and related activities will be permitted as
14   requested or state an objection to the request, including the reasons.” Rule
15   34(b)(2)(B). If the responding party chooses to produce responsive
16   information, rather than allow for inspection, the production must be
17   completed no later than the time specified in the request or another
18   reasonable time specified in the response. Id. An objection must state
19   whether any responsive materials are being withheld on the basis of that
20   objection. Rule 34(b)(2)(C). An objection to part of a request must specify the
21   part and permit inspection or production of the rest. Id. The responding
22   party is responsible for all items in “the responding party’s possession,
23   custody, or control.” Rule 34(a)(1). Actual possession, custody or control is
24   not required. Rather, “[a] party may be ordered to produce a document in the
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     1The Court will use page numbers supplied by CM/ECF rather than original pagination
27   throughout.

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1    possession of a non-party entity if that party has a legal right to obtain the
2    document or has control over the entity who is in possession of the
3    document.” Soto v. City of Concord, 162 F.R.D. 603, 620 (N.D. Cal. 1995).
4                                    DISCUSSION
5         Plaintiffs assert that this discovery is out of bounds because evidence of
6    illegal conduct by Plaintiffs cannot legalize unlawful conduct by Defendants,
7    citing to Kiefer-Stewart v. Joseph E. Seagram & Sons, 340 U.S. 211, 214
8    (1951), overruled in part on other grounds in Copperweld Corp. v.
9    Independence Tube Corp., 467 U.S. 752 (1984). Defendants, however, assert
10   that the evidence is relevant to support their defense that certain
11   communications complained of by Plaintiffs are innocuous and of a sort
12   routinely exchanged by competitors. (ECF No. 1260 at 4). The theory being
13   that if Plaintiffs also exchange such routine, innocuous communications
14   among themselves, Defendants theory is supported. (Id. at 4-5).
15        Defendants rely primarily on In re Cathode Ray Tube (CRT) Antitrust
16   Litigation, 301 F.R.D. 449 (N.D. Cal. 2014), in which the district court agreed
17   that Keifer-Stewart stands for the proposition that illegal conduct by a
18   plaintiff does not immunize defendant from their own liability. That
19   proposition, however, does not support the contention that an antitrust
20   plaintiff's activities are always irrelevant and outside the scope of discovery.
21   Id. at 453. In CRT, the court authorized the requested discovery finding that
22   it was not designed simply to enable defendant to shift attention away from
23   an otherwise illegal and actionable scheme. Id. at 454. Later, in CRT II, the
24   Court allowed for the admission of evidence of certain communications
25   between Plaintiffs. CRT II, No. C-07-5944-JST, 2016 WL 6216664 *6 (N.D.
26   Cal. Oct. 25, 2016).
27        It is not for this Court to determine whether the communications

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1    sought may be admissible and for what purpose. The question is relevance.
2    Defendants’ theory is that Plaintiffs are elevating innocuous communications
3    into an actionable conspiracy. If Plaintiffs engage in similar, legal
4    communications, Defendants’ theory may be supported. Whether the
5    discovery leads to admissible evidence is for the trial court to determine down
6    the road.
7         The Court also finds that the discovery sought is proportional as it
8    bears directly on an asserted defense in the case.
9                                   CONCLUSION
10        As presented in this Joint Motion, Defendants’ Motion to Compel
11   Further Responses to Request for Production No. 16 (Third Set) is
12   GRANTED. As provided by Fed. R. Civ. P. 34(b)(2)(B), Plaintiffs must
13   provide to Defendants a reasonable date by which the production will be
14   completed.
15        SO ORDERED.
16   Dated: July 23, 2018
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